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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS

 IN RE: TESTOSTERONE REPLACEMENT                         CASE NO. 1:14-CV-01748
 THERAPY PRODUCTS LIABILITY                              MDL 2545
 LITIGATION
                                                         JUDGE MATTHEW F. KENNELLY

                                                         This Document Relates to:

                                                         Mitchell v. AbbVie,
                                                         Case No. 1:14-cv-09178


                                          STIPULATION



               It is hereby stipulated and agreed between Plaintiff Jesse Mitchell and Defendants

Abbott Laboratories and AbbVie Inc. (together, “AbbVie”):

               1.      All objections on the parties’ respective exhibit lists (as reflected in the

“Objection Basis” column of the attached Exhibit A (for AbbVie’s objections) and Exhibit B (for

Plaintiff’s objections)) are preserved at this trial. The parties will continue to document their

objections to newly proffered exhibits on their exchanged exhibit lists.

               2.      All objections previously asserted to any exhibit via motion in limine (as

reflected in the “Objection Code” column of the attached Exhibit A (for AbbVie’s objections)

and Exhibit B (for Plaintiff’s objections)) are preserved and need not be re-asserted at this trial.

               3.      All objections to exhibits, which were overruled, during testimony at

previous trials (as reflected in the “Status” column of the attached Exhibit A (for AbbVie’s

objections) and Exhibit B (for Plaintiff’s objections)) are preserved and need not be re-asserted at

this trial. Although the parties do not intend to re-raise these objections, they reserve their right
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to do so with respect to specific exhibits on a limited basis, and will do so in advance of the

relevant testimony or during a break in the trial.

               4.      All documents designated with a “Y” in the “pre-admit” column of the

Attached Exhibit A (for documents pre-admitted on Plaintiff’s exhibit list) and Exhibit B (for

AbbVie’s exhibit list) will not be subject to an objection by the opposing party at this trial except

as permitted in sections 3 and 5.

               5.      The parties further agree that objections to the cumulative nature of any

exhibit under Federal Rule of Evidence 403 or to inadequate expert disclosure under Federal

Rule of Civil Procedure 26(a)(2) may be asserted at this trial.
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Dated: March 22, 2018


      /s/ David M. Bernick                       /s/ Troy Rafferty
      David M. Bernick                           Troy Rafferty
      PAUL, WEISS, RIFKIND,                      LEVIN PAPANTONIO THOMAS
      WHARTON & GARRISON LLP                     MITCHELL RAFFERTY &
      1285 Avenue of the Americas                PROCTOR, P.A.
      New York, New York 10019-6064              316 South Baylen St.
      Tel: (212) 373-3000                        Pensacola, FL 32502
      Fax: (212) 757-3990                        (850) 435-7000
      dbernick@paulweiss.com                     trafferty@levinlaw.com
      Attorneys for AbbVie Inc.
                                                 David R. Buchanan
      Nathan Hoffman                             SEEGER WEISS LLP
      DECHERT LLP                                77 Water Street
      35 West Wacker Drive, Suite 3400           New York, NY 10005
      Chicago, IL 60601                          Phone: (212) 584-0700
      Tel: (312) 646-5827                        Fax: (212) 584-0799
      Fax: (312) 646-5858                        Email: dbuchanan@seegerweiss.com
      nathan.hoffman@dechert.com
                                                 Bill Robins III
      Michelle Hart Yeary                        ROBINS CLOUD LLP
      DECHERT LLP                                808 Wilshire, Suite 450
      902 Carnegie Center, Suite 500             Santa Monica, California
      Princeton, NJ 08540-6531                   Tel: (310) 929-4200
      Tel: (609) 955-3200                        Fax: (310) 566-5900
      Fax: (609) 955-3259                        Email: robins@robinscloud.com
      michelle.yeary@dechert.com

      Attorneys for AbbVie Inc. and Abbott
      Laboratories
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                                CERTIFICATE OF SERVICE

          I, David Bernick, hereby certify that on March 22, 2018, the foregoing document

  was filed via the Court’s CM/ECF system, which will automatically serve and send email

  notification of such filing to all registered attorneys of record.

                                                               /s/ David Bernick
                                                                  David Bernick
